f           Case 4:15-mc-00003-KGB           Document 1        Filed 01/08/15      Page 1 of 4


                                                                                               FILED
                                                                                              U.S. DISTRICT COUR
                          IN THE FEDERAL DISTRICT COURT FOR THE                          EA STERN DISTRICT AR      S

                               EASTERN DISTRICT OF ARKANSAS

                                                                                 JAMES                                 K
    ARISTOTLE, INC.,                                                             By: _    __:;;;;;o;;#:~~~"l;Jl.,J,,.~
         PLAINTIFF
    v.                                                    CASE NO.:     Lf-., I 51)1& J - Jr:::..r:;
    GOOGLE, INC.,
        DEFENDANT

                        MOTION TO ISSUE SUBPOENA FOR DOCUMENTS

            Comes not the Plaintiff, Aristotle, Inc., by and through its attorney, Benjamin Mccorkle

    of Beacon Legal Group, PLLC, and for its motion to issue a subpoena for documents states:

         1. Plaintiff is involved in an employment dispute with a former employee, Morgan A. Long,

            filed with the Arkansas Department of Labor, Wage Claim No.: 2014-0334, on August

            25, 2014.

         2. Plaintiff now files this miscellaneous action for the sole purpose of the issuance of a

            subpoena to Defendant demanding the production of the documents transferred to Mr.

            Long's Google Docs account on July 27 and 28, 2014.

         3. The proposed subpoena is attached hereto.

    Respectfully Submitted,

    BEACON LEGAL GROUP, PLLC
    1323 BROADWAY ST.
    LITTLE ROCK, AR 72202
    (501) 907-9539
    BY:

    ~- K.
    Benjamin R. McCorkle, Ark. Bar# 2001139
    Attorney for Plaintiff
    BMcCorkle@BeaconLegalGroup.com
                   Case 4:15-mc-00003-KGB                         Document 1               Filed 01/08/15             Page 2 of 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District of Arkansas

                          Aristotle, Inc.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                           Google, Inc.                                       )
                                                                              )
                              Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                               Custodian of Documents

                                                       (Name ofperson to whom this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: All documents downloaded on July 27, 2014 and July 28, 2014 to the Google Docs account for the following
         Google Docs User: Morgan A. Long, 2901 College Avenue, Conway Arkansas 72034
         Phone: 501-425-6760, SS#: xxx-xx-8184

 Place: Beacon Legal Group, PLLC                                                        Date and Time:
        1323 Broadway St.
                                                                                                             02/05/2015 0:00 am
        Little Rock, AR 72202

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

                                                                                      IDate and Time:

       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                    Aristotle, Inc.
~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                 , who issues or requests this subpoena, are:
Benjamin McCorkle, 1323 Broadway St., Little Rock, AR 72202, bmccorkle@beaconlegalgroup.com, 501-907-9539

                                       Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                   Case 4:15-mc-00003-KGB                         Document 1               Filed 01/08/15              Page 3 of 4
AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name ofindividual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                      for travel and $                              for services, for a total of $                0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:
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 ~o 88B   !Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
:c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                   10r aescribe soecific occurrences in dispute and results from the expert's
  (1) For a Trial, Htiarillg, or Dtiposition. A subpoena may command a            study that was not requested oy a PRn> .
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstancer
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing o·
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the scrvmg pa.ro:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other DiscOllllry. A subpoena may command:
  (A) production of documents, electronically stored information, or               (1) Producing Docummts or Eltictronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
  (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Penon Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Ulllhlti Bunkn or Exptinu; &uu:tions. A party or attorney           If a subpoena docs not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction--which may include           person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees---0n a party or attorney who         information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Jnsptiction.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) ClaUnilcg Privi/egti or Protection.
sampling any or all of the materials or to inspecting the premises-or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (I) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                         (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Sllbpotina.                                          information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
